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 6
     ATTORNEYS FOR PLAINTIFFS, CARPENTERS SOUTHWEST
 7   ADMINISTRATIVE CORPORATION and BOARD OF TRUSTEES
     FOR THE CARPENTERS SOUTHWEST TRUSTS
 8
 9                           UNITED STATES DISTRICT COURT
10                                     DISTRICT OF ARIZONA
11
12   HKB, INC., an Arizona COl])_Qration,          No. 2: 16-cv-03799-DJH
     doing_ business as SOUTHWEST                  No. 2: 17 -cv-00 198
13   INDUSTRIAL RIGGING,

14                        Plaintiff,               ANSWER TO COMPLAINT
15   v.
16   BOARD OF TRUSTEES FOR THE                     Before The Honorable
     CARPENTERS SOUTHWEST                            Diane J. Humetawa
17   TRUSTS, erroneously sued as BOARD
     OF TRU~TEES FOR THE
18   SOUTHWEST CARPENTER'S
     SOUTHWEST TRUST; et al
19                        Defendants.
20   CARPENTERS SOUTHWEST
     ADMINISTRATIVE CORPORATION
21   a California non-profit corporation; et ai
22                        Plaintiffs,

23   v.
     H K B Inc., et al
24
                          Defendants.
25
26   Ill
27   Ill
28
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 1                              ANSWER TO COMPLAINT
 2         Defendants BOARD OF TRUSTEES FOR THE CARPENTERS
 3   SOUTHWEST TRUSTS, erroneously sued as BOARD OF TRUSTEES FOR THE
 4   SOUTHWEST CARPENTER'S SOUTHWEST TRUST and CARPENTERS
 5   SOUTHWEST ADMINISTRATIVE CORPORATION, ("Defendants") hereby
 6   respond to PlaintiffHKB, Inc.'s ("Plaintiff') Complaint for Declaratory Judgment
 7   as follows:
 8         1. Defendants have insufficient information to admit or deny the allegations
 9   in Paragraph 1 of the Complaint, and on that basis deny each and every allegation
10   contained therein.
11         2. Defendants admit that Carpenters Southwest Administrative Corporation
12   is a California non-profit corporation.
13         3. Defendants admit that the Board of Trustees for the Carpenters
14   Southwest Trusts are acting trustees of the Southwest Carpenters Health and
15   Welfare Trust, Southwest Carpenters Pension Trust, Southwest Carpenters
16   Vacation Trust, and Southwest Carpenters Training Fund.
17         4. Defendants admit that Defendants have asserted that Plaintiff owes
18   amounts to Defendants. As to the remainder of Paragraph 4 of the Complaint,
19   Defendants have insufficient information to admit or deny the allegations in
20   Paragraph 4 of the Complaint, and on that basis deny each and every allegation
21   contained therein.
22         5. The allegations in Paragraph 5 of the Complaint state legal conclusions
23   to which no answer is required.
24         6. The allegations in Paragraph 6 of the Complaint state legal conclusions
25   to which no answer is required.
26         7. Defendants have insufficient information to admit or deny the allegations
27   in Paragraph 7 of the Complaint, and on that basis deny each and every allegation
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                                   ANSWER TO COMPLAINT
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 1   contained therein.
 2         8. Defendants admit that a Southwest Regional Council of Carpenters -
 3   Carpenters Memorandum Agreement 2012-2016 was executed on August 22,
 4   20 13. As to the remainder of Paragraph 8 of the Complaint, Defendants have
 5   insufficient information to admit or deny the allegations in Paragraph 8 of the
 6   Complaint, and on that basis deny each and every allegation contained therein.
 7         9. The allegations in Paragraph 9 of the Complaint state legal conclusions
 8   to which no answer is required. To the extent the allegations of Paragraph 9 seek
 9   to paraphrase or characterize the contents of the Memorandum Agreement, the
10   document speaks for itself and Defendants deny the allegations to the extent that
11   they are inconsistent with that document.
12         10. Defendants have insufficient information to admit or deny the
13   allegations in Paragraph 10 of the Complaint, and on that basis deny each and
14   every allegation contained therein.
15         11. Defendants have insufficient information to admit or deny the
16   allegations in Paragraph 11 of the Complaint, and on that basis deny each and
17   every allegation contained therein.
18         12. Defendants have insufficient information to admit or deny the
19   allegations in Paragraph 12 of the Complaint, and on that basis deny each and
20   every allegation contained therein.
21         13. Defendants have insufficient information to admit or deny the
22   allegations in Paragraph 13 of the Complaint, and on that basis deny each and
23   every allegation contained therein.
24         14. To the extent the allegations ofParagraph 14 seek to paraphrase or
25   characterize the contents of the Memorandum Agreement, the document speaks
26   for itself and Defendants deny the allegations to the extent that they are
27   inconsistent with that document. As to the remainder of Paragraph 14 of the
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 1   Complaint, Defendants have insufficient information to admit or deny the
 2   allegations in Paragraph 14 of the Complaint, and on that basis deny each and
 3   every allegation contained therein.
 4         15. Defendants have insufficient information to admit or deny the
 5   allegations in Paragraph 15 of the Complaint, and on that basis deny each and
 6   every allegation contained therein.
 7         16. Defendants have insufficient information to admit or deny the
 8   allegations in Paragraph 16 of the Complaint, and on that basis deny each and
 9   every allegation contained therein.
10         17. Defendants admit that Plaintiff engaged workers who performed
11   services covered by the Memorandum Agreement and who performed labor on
12   works of construction within the jurisdiction of the Memorandum Agreement. As
13   to the remainder of Paragraph 17 of the Complaint, Defendants have insufficient
14   information to admit or deny the allegations in Paragraph 17 of the Complaint, and
15   on that basis deny each and every allegation contained therein.
16         18. Defendants have insufficient information to admit or deny the
17   allegations in Paragraph 18 of the Complaint, and on that basis deny each and
18   every allegation contained therein.
19         19. Defendants admit that Defendants conducted an audit of Plaintiff. As to
20   the remainder of Paragraph 19 of the Complaint, Defendants have insufficient
21   information to admit or deny the allegations in Paragraph 19 of the Complaint, and
22   on that basis deny each and every allegation contained therein.
23         20. Defendants admit that Defendants have asserted that Plaintiff owes
24   amounts to Defendants. As to the remainder of Paragraph 20 of the Complaint,
25   Defendants have insufficient information to admit or deny the allegations in
26   Paragraph 20 of the Complaint, and on that basis deny each and every allegation
27   contained therein.
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 1          21. Defendants admit that Defendants have stated that Plaintiff owes
 2   amounts to Defendants. As to the remainder of Paragraph 21 of the Complaint,
 3   Defendants have insufficient information to admit or deny the allegations in
 4   Paragraph 21 of the Complaint, and on that basis deny each and every allegation
 5   contained therein.
 6         22. Defendants have insufficient information to admit or deny the
 7   allegations in Paragraph 22 of the Complaint, and on that basis deny each and
 8   every allegation contained therein.
 9         23. Defendants have insufficient information to admit or deny the
10   allegations in Paragraph 23 of the Complaint, and on that basis deny each and
11   every allegation contained therein.
12         24. Defendants have insufficient information to admit or deny the
13   allegations in Paragraph 24 of the Complaint, and on that basis deny each and
14   every allegation contained therein.
15         25. Defendants deny the allegations contained in Paragraph 25 of the
16   Complaint.
17         26. Answering Paragraph 26 of the Complaint, Defendants incorporate by
18   reference the admissions, denials and averments to Paragraphs 1-25 as though
19   fully set forth herein.
20         27. Defendants have insufficient information to admit or deny the
21   allegations in Paragraph 27 of the Complaint, and on that basis deny each and
22   every allegation contained therein.
23          28. The allegations in Paragraph 28 of the Complaint state legal
24   conclusions to which no answer is required. To the extent that any response is
25   required, Defendants have insufficient information to admit or deny the allegations
26   in Paragraph 28 of the Complaint, and on that basis deny each and every allegation
27   contained therein.
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 1          29. The allegations in Paragraph 29 of the Complaint state legal
 2   conclusions to which no answer is required. To the extent that any response is
 3   required, Defendants have insufficient information to admit or deny the allegations
 4   in Paragraph 29 of the Complaint, and on that basis deny each and every allegation
 5   contained therein.
 6         30. Defendants deny the allegations contained in Paragraph 30 of the
 7   Complaint.
 8         31. Answering Paragraph 31 of the Complaint, Defendants incorporate by
 9   reference the admissions, denials and averments to Paragraphs 1-30 as though
10   fully set forth herein.
11         32. The allegations in Paragraph 32 of the Complaint state legal
12   conclusions to which no answer is required. To the extent that any response is
13   required, Defendants deny the allegations contained in Paragraph 32.
14         33. Defendants have insufficient information to admit or deny the
15   allegations in Paragraph 33 of the Complaint, and on that basis deny each and
16   every allegation contained therein.
17          34. Defendants have insufficient information to admit or deny the
18   allegations in Paragraph 34 of the Complaint, and on that basis deny each and
19   every allegation contained therein.
20          35. The allegations in Paragraph 35 of the Complaint state legal
21   conclusions to which no answer is required. To the extent that any response is
22   required, Defendants have insufficient information to admit or deny the allegations
23   in Paragraph 35 of the Complaint, and on that basis deny each and every allegation
24   contained therein.
25          36. Defendants have insufficient information to admit or deny the
26   allegations in Paragraph 36 of the Complaint, and on that basis deny each and
27   every allegation contained therein.
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 1          37. Defendants have insufficient information to admit or deny the
 2   allegations in Paragraph 37 of the Complaint, and on that basis deny each and
 3   every allegation contained therein.
 4          38. Answering Paragraph 38 of the Complaint, Defendants incorporate by
 5   reference the admissions, denials and averments to Paragraphs 1-3 7 as though
 6   fully set forth herein.
 7         39. The allegations in Paragraph 39 of the Complaint state legal
 8   conclusions to which no answer is required. To the extent that any response is
 9   required, Defendants have insufficient information to admit or deny the allegations
10   in Paragraph 39 of the Complaint, and on that basis deny each and every allegation
11   contained therein.
12         40. The allegations in Paragraph 40 of the Complaint state legal
13   conclusions to which no answer is required.
14         41. Defendants admit that a Southwest Regional Council of Carpenters -
15   Carpenters Memorandum Agreement 2012-2016 was executed on August 22,
16   20 13. As to the remainder of Paragraph 41 of the Complaint, Defendants have
17   insufficient information to admit or deny the allegations in Paragraph 41 of the
18   Complaint, and on that basis deny each and every allegation contained therein.
19         42. Defendants admit that Plaintiff engaged workers who performed
20   services covered by the Memorandum Agreement and who performed labor on
21   works of construction within the jurisdiction of the Memorandum Agreement. As
22   to the remainder of Paragraph 42 of the Complaint, Defendants have insufficient
23   information to admit or deny the allegations in Paragraph 42 of the Complaint, and
24   on that basis deny each and every allegation contained therein.
25         43. Defendants admit that Plaintiff owes amounts to Defendants. As to the
26   remainder of Paragraph 43 of the Complaint, Defendants have insufficient
27   information to admit or deny the allegations in Paragraph 43 of the Complaint, and
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 1   on that basis deny each and every allegation contained therein.
 2         44. The allegations in Paragraph 44 of the Complaint state legal
 3   conclusions to which no answer is required. To the extent that any response is
 4   required, Defendants have insufficient information to admit or deny the allegations
 5   in Paragraph 44 of the Complaint, and on that basis deny each and every allegation
 6   contained therein.
 7         45. The allegations in Paragraph 45 of the Complaint state legal
 8   conclusions to which no answer is required.
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10                               PLAINTIFF'S REMEDIES
11         46. Defendants deny that Plaintiff should be awarded the relief sought in
12   Paragraph 1 of their Remedies, or any relief whatsoever.
13         4 7. Defendants deny that Plaintiff should be awarded the relief sought in
14   Paragraph 2 of their Remedies, or any relief whatsoever.
15         48. Defendants deny that Plaintiff should be awarded the relief sought in
16   Paragraph 3 of their Remedies, or any relief whatsoever.
17         49. Defendants deny that Plaintiff should be awarded the relief sought in
18   Paragraph 4 of their Remedies, or any relief whatsoever.
19         50. Defendants deny that Plaintiff should be awarded the relief sought in
20   Paragraph 5 of their Remedies, or any relief whatsoever.
21                              AFFIRMATIVE DEFENSES
22         In further answer to Plaintiffs Complaint, Defendants allege the following
23   additional defenses. In asserting these defenses, Defendants do not assume the
24   burden of proof as to matters that, pursuant to law, are Plaintiffs burden to prove.
25   Further, each and every additional defense asserted by Defendants is made without
26   prejudice to their denials and other statements of their pleadings.
27   ///

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  1                              FIRST AFFIRMATIVE DEFENSE
  2                                   (Failure to State a Claim)
  3            Plaintiffs Complaint fails to set forth facts sufficient to constitute a claim.
  4                            SECOND AFFIRMATIVE DEFENSE
  5                                    (Statute of Limitations)
  6            Plaintiffs Complaint is barred by the applicable statutes of limitations.
 7                              THIRD AFFIRMATIVE DEFENSE
 8                                             (Laches)
  9            Plaintiffs Complaint is barred by the doctrine of laches.
10                             FOURTH AFFIRMATIVE DEFENSE
11                                         (Unclean Hands)
12             Plaintiff cannot recover the relief requested because of Plaintiffs unclean
13    hands.
14                               FIFTH AFFIRMATIVE DEFENSE
15                                          (No Standing)
16             Plaintiff lacks standing to bring its Complaint.
17                               SIXTH AFFIRMATIVE DEFENSE
·18                                          (Prematurity)
19             Plaintiffs Complaint is premature, and the action should be abated.
20                             SEVENTH AFFIRMATIVE DEFENSE
21                                             (Waiver)
22             Plaintiffs Complaint is barred by the doctrine of waiver.
23                              EIGHTH AFFIRMATIVE DEFENSE
24                                            (Estoppel)
25             Plaintiffs Complaint is barred by the doctrine of estoppel.
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27    Ill
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 1                           NINTH AFFIRMATIVE DEFENSE
 2                                         (Equity)
 3         Plaintiffs Complaint is barred in whole or in part to the extent it would be
 4   inequitable to allow Plaintiffs relief based upon Plaintiffs misconduct.
 5                           TENTH AFFIRMATIVE DEFENSE
 6                                        (No Injury)
 7         Plaintiff sustained no injury or damages by reason of any act or omission
 8   attributable to Defendants.
 9                        ELEVENTH AFFIRMATIVE DEFENSE
10                                         (Consent)
11         Plaintiffs Complaint is barred by the doctrine that a person who knowingly
12   consents to a legal wrong has no right to relief as a result of said wrong.
13                         TWELFTH AFFIRMATIVE DEFENSE
14                                 (Substantial Compliance)
15         Plaintiffs Complaint is barred by the doctrine of substantial compliance.
16                       THIRTEENTH AFFIRMATIVE DEFENSE
17                                  (Reservation of Rights)
18         Defendants currently have insufficient knowledge or information on which
19   to form a belief as to whether they may have additional affirmative defenses.
20   Accordingly, Defendants expressly reserve the right to assert additional
21   affirmative defenses once they become known to Defendants.
22                                         PRAYER
23         WHEREFORE, Defendants pray that this Court enter a judgment as
24   follows:
25          1. That the Complaint be dismissed with prejudice and that judgment be
26   entered in favor of Defendants;
27         2. That Plaintiff take nothing by way of its Complaint;
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 1            3. That Defendants be awarded their costs of suit incurred in defense of this
 2   action; and
 3         4. For such further and other relief as the Court may deem just and proper.
 4
 5
     Dated:   July~,     2018                 DeCARLO & SHANLEY,
 6                                            a Professional Corporation
 7
                                              By:    OZz ~
 8                                               THOMAS DAVIS
                                              Attorn~~for Defendants,
 9                                            CARPENTERS SOUTHWEST
                                              ADMINISTRATIVE CORPORATION
10                                            and BOARD OF TRUSTEES FOR THE
                                              CARPENTERS SOUTHWEST TRUSTS
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                             CERTIFICATE OF SERVICE

                      (H K B, Inc., etc., v. Board of Trustees, etc.)
                     (USDC-Arizona Case No. 2:16-cv-03799DJH)


X                               .Ji2..,
    I hereby certify that on July      2018, I electronically transmitted the attached
    document, ANSWER TO COMPLAINT, to the Clerk's Office using the CM/ECF
    System for filing and transmittal of a Notice of Electronic Filing to the following
    CM/ECF registrants:

          James Edward Holland, Jr. - jholland@stinson.com,cbarajas@stinson.com
          Javier Torres - javier.torres@stinson.com,cynthia.fischer@stinson.com


                Executed on July ).0 , 2018, at Los Angeles, California.


X   I declare that I am employed in the office of a member of the bar of this court at whose
    direction the service was made.



                                          Luc . oure-Pasco, Secretary
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